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                                                                                        Jan. 9, 2021




 Time          Name                                                         Message
07:21:48
      PM




07:28:54 NobleLead                     In an EXTREMELY dangerous tweet CNN
      PM                               claims ProudBoys had “Orange hats on
                                       during the storm on the Capitol.

                                       This is not only false...it was written with
                                       absolutely no basis whatsoever. It was
                                       written knowing it would inflame its
                                       followers. In that very thread there is
                                       someone saying we should be shot.

                                       The media just wants sensationalism...and
                                       then they ask why we are so aggressive
                                       towards them.

                                       This is why...
